      Case 1:12-cr-10076-NMG Document 140 Filed 04/16/13 Page 1 of 17




                         United States District Court
                          District of Massachusetts



                                        )
UNITED STATES OF AMERICA,               )
                                        )
             v.                         )
                                        )    Criminal No.
HECTOR CABRAL,                          )    12-10076-NMG
                                        )
             Defendant.                 )

---------­---­-)
                              MEMORANDUM & ORDER

GORTON, J.

      A one-count superseding indictment charges defendant Hector

Cabral ("Cabral") and three others with Conspiracy to Possess

with Intent to Distribute and to Distribute Heroin, in violation

of 21 U.S.C.      §   846.   Defendant's motions to suppress   (Docket Nos.

84 and 85) were denied, in part, and allowed, in part, by a Court

Order entered on April 9, 2013, "with memorandum and order to

follow."     The Court now publishes the subject memorandum and

order.     Also pending before the Court is the government's motion

to strike defendant's affidavit submitted in support of

suppression (Docket No. 110) which is addressed herein as well.

I .   Background

      The charges against defendant stem from a DEA wiretap

investigation in which an amount of US currency was seized

following a traffic stop.         The investigation revealed several


                                       -1­
     Case 1:12-cr-10076-NMG Document 140 Filed 04/16/13 Page 2 of 17




long standing drug trafficking organizations ("DTOs") operating

in the Boston area.    Agents also learned that these DTOs obtained

narcotics from an international cartel, members of which would

transport narcotics to Boston via car or truck and then transport

proceeds from the sale of those drugs out of Massachusetts.

     The portion of the investigation relevant to the instant

motion involves intercepted phone calls as well as GPS-monitored

vehicles and physical surveillance.      On February 14, 2012 agents

participating in a joint DEA-state police drug task force         ("the

joint task force")    observed defendant meeting with an alleged co­

conspirator, Bernardo Gomez, outside of a hotel where defendant

was staying.   The following day, based upon wiretap recordings

and location data, agents became aware that Gomez visited the

home of another alleged co-conspirator, Ernesto Andujar, in order

to pick up cash for the purpose of acquiring drugs from Illinois.

Visual surveillance confirmed that Gomez exited Andujar's home

carrying a weighted, tan plastic bag that same day.

     On February 17, 2012, the date of the stop and search

contested by defendant, agents in the joint task force witnessed

Gomez hand a weighted, white plastic bag to defendant which

defendant took into his hotel.     Agents then observed defendant

and another individual, Marco Ledesma Benitez, come out of the

hotel with their luggage.     Defendant put his luggage into his

truck and appeared to stuff items into the dashboard area while


                                  -2­
     Case 1:12-cr-10076-NMG Document 140 Filed 04/16/13 Page 3 of 17




Benitez crawled underneath the vehicle with what appeared to be

the white plastic bag.     The two then got into the vehicle, drove

away from the hotel and onto an interstate highway.

     Based upon those observations as well as intercepted

communications and GPS data, the surveillance agents requested a

uniformed Massachusetts State Police ("MSp U ) officer to stop

defendant's vehicle.     Sergeant Charlie Kane, a detective also

assigned to the joint task force,       relayed these instructions to

MSP Trooper Brian McKenna ("Trooper McKenna U )     and further

informed him that the agents suspected that Cabral was

transporting drug proceeds in "hides U behind the dashboard and

underneath the vehicle.

     Trooper McKenna stopped defendant's vehicle while traveling

southbound on Interstate 95 near Foxborough, Massachusetts             at

approximately 8 p.m.     Two other officers soon responded to the

scene.   Trooper McKenna asked defendant to get out of the vehicle

and patted him down.     He then asked defendant a series of

questions related to the purpose of his travel while the two

stood at the rear of Cabral's truck.        In substance, defendant

responded that he was returning to Illinois after spending two

weeks in Boston.

     Trooper McKenna then asked Cabral if he was aware that the

section of interstate on which he was traveling was a "drug

corridor u and asked if defendant had any drugs, currency or


                                  -3­
     Case 1:12-cr-10076-NMG Document 140 Filed 04/16/13 Page 4 of 17




weapons in the vehicle.     Defendant denied that he was

transporting any such items and, upon Trooper McKenna's request,

purportedly agreed to a search of his vehicle.        Trooper McKenna

then told defendant he would be using a narcotics detection dog

during the search.     He also stated that the search would be brief

and that, if they did not locate anything, defendant would be

free to leave and continue on his way.       Defendant was then

escorted to one of the other two police cruisers that had arrived

and placed in the back seat.     Trooper McKenna then separately

asked the same questions of the passenger, Benitez, and after

receiving substantially similar responses, had Benitez escorted

to the backseat of the other police cruiser where he remained

separated from defendant.

     After both defendant and Benitez were seated in police

cruisers, Trooper McKenna and his detection dog searched

defendant's vehicle.     The dog alerted to the area of the

dashboard above the radio, an area identified to Trooper McKenna

by the surveilling officers as a potential hide for the drug

proceeds defendant was believed to be carrying.

     Trooper McKenna then approached defendant, still seated in

the police cruiser, and informed him that his dog had alerted to

a "narcotic odor."     When asked, defendant denied having anything

in the vehicle that might have caused the dog to alert.          Trooper

McKenna then informed defendant that his vehicle would be towed


                                    4
     Case 1:12-cr-10076-NMG Document 140 Filed 04/16/13 Page 5 of 17




to a nearby police barracks so that police could conduct a more

thorough search.     McKenna told him again that he would be free to

leave once the search was completed.       Finally, McKenna gave him

the option of walking to a nearby shopping mall and waiting there

during the search or accompanying the officers to the police

barracks.    At the time, McKenna still had defendant's wallet,

which he had taken at some point during the encounter.          Defendant

and his companion opted for the barracks and were transported

there in separate cruisers.

     At the police barracks, defendant and Benitez remained,

unescorted, in the lobby while members of the joint drug task

force searched for and recovered $49,600 in cash that had been

hidden behind the dashboard and underneath the truck.         At

approximately 10:30 p.m., Trooper McKenna, alone, approached

defendant, told him what the police had found and asked him about

the currency.     Defendant denied knowledge of it and claimed that

it was not his money.     Defendant accepted a receipt for the

seized currency but refused to sign it.

     At no point during any of the interactions that day was

defendant given Miranda warnings or told that he was under

arrest.     Defendant now moves to suppress the stop of his vehicle

and the fruits of the subsequent search, namely the $49,600 in

United States currency, as well as all of his statements made to

police during the course of the stop and search.


                                   -5­
       Case 1:12-cr-10076-NMG Document 140 Filed 04/16/13 Page 6 of 17




       II.    Search and Seizure

       Defendant seeks suppression of the physical evidence

recovered from the stop and search on the basis that Trooper

McKenna, the officer who stopped the vehicle and ordered its

search, lacked probable cause authorizing him to do so.

             A.      Automobile Searches and the Fellow Officer Rule

       The Fourth Amendment protects "the right of the people to be

secure in their persons, houses, papers, and effects, against

unreasonable searches and seizures."           u.s. Const. amend.   IV.     A

warrantless search is per se unreasonable, "subject only to a few

specifically established and well-delineated exceptions." Arizona

v. Gant, 556      u.s.   332, 338 (2009)    (quoting Katz v. United States,

389   u.s.   347, 357 (1967)).     One such exception exists for

searches of motor vehicles, which are permitted when the

searching officer has probable cause to believe that the vehicle

contains contraband or evidence of criminal activity.             United

States v. Goncalves, 642 F.3d 245, 249 (1st Cir. 2011)            (citing

California v. Acevedo, 500        u.s. 565, 579    (1991)).   Probable cause

to search a vehicle justifies a search of the entire vehicle,

and, importantly,        justifies seizing the vehicle and searching it

after the fact. See United States v. Panitz, 907 F.2d 1267, 1272

(1st Cir. 1990)      (finding warrantless search of vehicle "need not

be conducted contemporaneously with the seizure" and is not

limited "temporally [or] spatially").


                                      -6­
        Case 1:12-cr-10076-NMG Document 140 Filed 04/16/13 Page 7 of 17




        Probable cause exists when, given all the circumstances,

there is a fair probability that contraband or evidence will be

found in the place described. United States v. Moore, 790 F.2d

13, 15    (1st Cir. 1986).     Where the officer conducting the search

of a vehicle possesses specific facts satisfying the probable

cause standard at the time of the search, the search must be

upheld. See, e.g. United States v. Infante-Ruiz, 13 F.3d 498, 502

(1st Cir. 1994)     (upholding search).

        Under the "fellow-officer" rule, law enforcement officials

who are cooperating in an investigation are also "entitled to

rely upon each other's knowledge of facts when forming the

conclusion that a suspect has committed or is committing a

crime." United States v. Meade, 110 F.3d 190, 193-94            (1st Cir.

1997).     When a law enforcement officer with information amounting

to probable cause directs an officer who lacks the knowledge to

make an arrest, courts impute to the arresting officer the

directing officer's knowledge. See id. at 193.           Under an

important corollary, the court may presume that the "collective

knowledge" of all participating officers may be presumed to have

been communicated to the directing officer. See United States v.

Bashorun, 225 F.3d 9, 13 (1st Cir. 2000)          (noting the Court in

Meade bypassed the "controversial question" of whether government

must prove directing officer's knowledge and declining to decide

it) .


                                      -7­
     Case 1:12-cr-10076-NMG Document 140 Filed 04/16/13 Page 8 of 17




     B.    Application

     As an initial matter, the officers cooperating on the joint

task force collectively made observations that gave them probable

cause to believe that on February 17, 2012, the date of the stop,

defendant's vehicle contained evidence of criminal activity,

namely, currency to be transported and eventually used for the

purchase of drugs.    Two days prior to the stop, officers assigned

to the task force believed, based upon intercepted phone calls,

that Gomez would pick up currency from Andujar and deliver it to

another co-conspirator to be transported out of state.          Later

that same day, another officer personally observed Gomez collect

a bag believed to contain currency.      On the day of the stop, two

other task force officers observed defendant taking the same bag

from Gomez and, later, stashing it in the dashboard of his

vehicle.   Merely observing Benitez stash a bag in the

undercarriage of defendant's truck, on its own, raised suspicion.

When coupled with the task force's knowledge of the Andujar DTO,

defendant's association with its members and telephone calls

suggesting an imminent delivery of drug      proceed~the collective


information established probable cause to believe that defendant

was transporting drug proceeds out of state and that his vehicle

contained evidence of a drug conspiracy.

     Accordingly, although Trooper McKenna was not a member of

the joint task force,    he conducted the stop and search at the


                                   -8­
       Case 1:12-cr-10076-NMG Document 140 Filed 04/16/13 Page 9 of 17




direction of Sergeant Kane, who was a participant.           Presuming

that the other task force members communicated their collective

knowledge of these facts to him, Sergeant Kane, who instructed

McKenna to make the stop, clearly had knowledge of facts

sufficient to give him probable cause to stop and search

defendant's vehicle.      Even without the benefit of the collective

knowledge presumption, Sergeant Kane's specific instructions

strongly suggest that he was apprised of the underlying facts

constituting probable cause: he informed Trooper McKenna of the

description of defendant's vehicle and, more specifically, that

1)   defendant's vehicle was connected to a lengthy federal

narcotics investigation, 2)      officers had observed defendant

placing what were believed to be drug proceeds in hides behind

the dashboard and underneath his vehicle earlier that day, and 3)

the vehicle was expected to depart the Commonwealth that night.

      Armed with probable cause to believe that defendant's

vehicle contained contraband, the automobile exception permitted

Trooper McKenna to stop and search the vehicle.          Those facts also

permitted Trooper McKenna to have the vehicle towed and searched

at the police barracks because the officers expected the

contraband to be secreted within areas of the vehicle not readily

accessible at road side. See Panitz,       907 F.2d at 1272.     While not

necessary to create probable cause for the search, the narcotic

detection dog's positive alert further supported the need to tow


                                     -9­
     Case 1:12-cr-10076-NMG Document 140 Filed 04/16/13 Page 10 of 17




defendant's vehicle and shows that the thorough search of the

truck's interior by police was reasonable in scope and related to

their suspicion regarding the vehicle's contents.

     Because the stop and the two searches were conducted upon

probable cause, the Court need not determine whether defendant

consented to the searches.      Defendant's motion to suppress the

stop and both searches and the physical fruits thereof will

therefore be denied.

III. Inculpatory Statements

     Defendant raises several arguments in support of his motion

to suppress the statements referenced above:        (1) he was, in fact,

under arrest during the course of the stop when police ordered

him out of the vehicle, allegedly handcuffed him, and eventually

transported him to a police barracks and (2) any statements that

he made, once de facto arrested, were the product of "custodial

interrogation" and must be suppressed.

     A.   Motion to Strike Defendant's Affidavit

     In March, 2013 the Court held a suppression hearing limited

in scope to defendant's motion to suppress his statements.

Trooper McKenna was the sole witness; the defendant elected not

to testify.   The government thereafter moved to strike

defendant's affidavit submitted in support of his motions to

suppress pursuant to United States v. Baskin, 424 F.3d 1 (1st

Cir. 2005), a case in which the First Circuit affirmed the


                                   -10­
     Case 1:12-cr-10076-NMG Document 140 Filed 04/16/13 Page 11 of 17




district court's decision to strike defendant's testimony at a

suppression hearing where he refused to answer questions on

cross-examination.

     The affidavit in question, while generally consistent with

the sequence of events as described by Trooper McKenna, asserts

two material distinctions: first, defendant claims that he was

handcuffed in the back of a police cruiser while Trooper McKenna

searched his vehicle and while being transported to the police

station; and second, he claims that officers instructed him not

to leave the police barracks while his vehicle was being

searched.    With respect to the first claim, Trooper McKenna

testified that he was not sure whether another officer had

handcuffed defendant and with respect to the second, McKenna

denied that he told defendant he was not free to leave.

     Although permitted to do so, this Court declines to strike

defendant's affidavit.     Because the Court credits much of Trooper

McKenna's testimony, including the aspects disputed by the

affidavit, striking the affidavit is unnecessary. See United

States v. Ramos,   591 F. Supp. 2d 93, 113-114      (D. Mass. 2008)

(Wolf, J.)   (discrediting affidavit because police testimony was

credible and defendant's statements were not subject to cross

examination).   The Court finds, however, that defendant failed to

prove that he was handcuffed or that he was instructed not to

leave the police barracks.


                                   -11­
     Case 1:12-cr-10076-NMG Document 140 Filed 04/16/13 Page 12 of 17




     B.   Custody Absent Formal Arrest

     It is bedrock law that a person questioned by law

enforcement officers after being taken into custody or otherwise

deprived of his freedom of action in any significant way must

first be given Miranda warnings. United States v. Hughes,          640

F.3d 428, 434    (lst Cir. 2011)   (quotations omitted).     In the

instant case, there is little doubt that defendant's statements

were made in response to questions from police officers and could

therefore be interpreted as elicited by "interrogation." See

United States v. McCarty, 475 F.3d 39, 45       (1st Cir. 2007)    (noting

interrogation constitutes questioning other than those attendant

to custody that police "should know are reasonably likely to

elicit an incriminating response").       Accordingly, the Court

focuses its inquiry on whether defendant was "in custody."

     In the absence of a formal arrest, the court should engage

in a two step process in order to determine whether defendant was

in "custody": 1)   ascertain the circumstances surrounding the

arrest, and 2)   determine whether those circumstances, when viewed

objectively, constitute a "restraint on freedom of movement of

the degree associated with a formal arrest." Hughes,         640 F.3d at

435 (citations omitted).

     With regard to the second step, courts in the First Circuit

examine four factors, among others:       (1) whether the suspect was

questioned in familiar or at least neutral surroundings,          (2) the


                                   -12­
     Case 1:12-cr-10076-NMG Document 140 Filed 04/16/13 Page 13 of 17




number of law enforcement officers present at the scene,          (3) the

degree of physical restraint placed upon the suspect and (4) the

duration and character of the interrogation. rd.         (quotations

omitted).     The determination of whether custody exists depends

upon the objective circumstances of the interrogation, not on the

"subjective views harbored by either the interrogating officers

or the person being questioned." rd.       (internal quotation and

citation omitted) .

     c.      Application

     Defendant made statements to Trooper McKenna at several

intervals during the stop and search of his vehicle.          Defendant's

responses to Trooper McKenna's initial inquiry, regarding the

purpose of his travel and the presence of contraband in his car

made after he had been asked to step outside of his vehicle, were

not made while in custody but rather were made attendant to a

Terry stop for which Miranda warnings are not required. See

United States v. Teemer, 394 F.3d 59, 66       (1st Cir. 2005)    (finding

that even though person may not reasonably be free to leave,

Miranda warnings not required unless roadside stop becomes

coercive).     Although defendant was not cited for a traffic

violation and Trooper McKenna admitted that the stop was not

"routine," his subjective motivations are irrelevant to the

inquiry. See Hughes, 640 F.3d at 435.       Moreover, although two

other officers were nearby, only Trooper McKenna questioned


                                   -13­
     Case 1:12-cr-10076-NMG Document 140 Filed 04/16/13 Page 14 of 17




defendant.     Defendant was not therefore physically restrained and

the brief questioning occurred in the somewhat neutral setting at

roadside.

     Defendant's statements after Trooper McKenna conducted a

search of the vehicle are a different kettle of fish.          When

Trooper McKenna asked defendant about the presence of illegal

narcotics in his car, Cabral was seated in the back of a police

cruiser where at least one other officer was present.          By that

time, Trooper McKenna was also in possession of defendant's

wallet.     Outnumbered and confined in the police cruiser,

defendant was restrained to a degree commensurate with arrest and

should have been given Miranda warnings before being questioned

further. Cf. Teemer, 394 F.3d at 66       (Miranda warnings were not

required even after suspicion began to develop because suspect

had not been handcuffed, ordered into a police car, or otherwise

subjected to physical restraints).

     The implicit restraint continued while defendant waited for

the police to complete their search of his vehicle at the police

barracks.     In that regard, the significance of defendant's

conveyance to the police barracks cannot be overstated.          Pre­

arrest questioning at a police station is not deemed custodial

where the suspect comes to the police station voluntarily and

there is no restriction on his freedom. United States v. Quinn,

815 F.2d 153, 160 (1st Cir. 1987)      (citing California v. Beheler,


                                   -14­
        Case 1:12-cr-10076-NMG Document 140 Filed 04/16/13 Page 15 of 17




463 u.s. 1121, 1125 (1983)).         By contrast, where a suspect is

transported to the police station involuntarily a de facto arrest

occurs. See Hayes v. Florida, 470 u.S. 811, 816 (1985)            (finding

suspect de facto arrested, for Fourth Amendment purposes, when

taken to station for fingerprinting under threat of arrest).

        Although defendant here was not transported to the police

barracks under arrest, an unexpressed threat of arrest was

implied and it cannot be said that he came to the barracks

voluntarily and without any restriction on his freedom.

Defendant was from out-of-state and was stopped en route to

Illinois.     At the time that he "chose" between waiting out the

search of his vehicle at a local mall and accompanying the police

to the barracks, defendant was seated in a police cruiser parked

near an interstate exit ramp.         The police possessed his wallet

and his only means of transportation.

        By contrast, the suspects in the Supreme Court cases relied

upon by the government were not so constrained when each agreed

to speak with police at the station.          In California v. Beheler,

the suspect contacted police to report a homicide. 463 u.S. at

1122.     Beheler eventually told police that an acquaintance had

shot the victim, and after permitting the police to search his

backyard for the gun, later that evening he agreed to accompany

the police back to the station for questioning.           Id.   He was

interviewed for 30 minutes and never given Miranda warnings. Id.


                                      -15­
    Case 1:12-cr-10076-NMG Document 140 Filed 04/16/13 Page 16 of 17




Noting that neither the fact that the defendant was a suspect nor

that the questioning occurred at the station house required

Miranda warnings, the Supreme Court found none were required. See

id. at 1124   (citing Oregon v. Mathiason, 429 u.S. 492, 495

(1977)).

     In Oregon v. Mathiason, a police officer investigating a

burglary left his card at Mathiason's apartment with a note

asking him to call because he wanted to "discuss something" with

defendant. 429 u.S. at 493.     Mathiason called the officer on the

following day, and after stating that he had no preference as to

meeting location, Mathiason agreed to meet the officer at a

nearby police station. Id.     The officer told Mathiason that he

was not under arrest and advised him that the truthfulness of his

statements regarding the burglary could be considered by a

prosecutor or judge. Id.     Mathiason ultimately confessed.

Because Mathiason had come voluntarily to the police station and

his freedom to depart was unrestricted, the Supreme Court found

that he was not in custody and therefore no Miranda warnings were

required prior to his interview. Id. at 495.

     Unlike Messrs. Beheler and Mathiason, defendant did not come

to the police barracks voluntarily.      The circumstances under

which he arrived were inherently coercive and are not offset by

the fact that, when Trooper McKenna approached defendant, he did

so alone, the interrogation was limited and defendant was not


                                  -16­
     Case 1:12-cr-10076-NMG Document 140 Filed 04/16/13 Page 17 of 17




handcuffed.   Even if police were justified in seizing defendant's

vehicle and assiduous about informing defendant he was not under

arrest, they were required to advise him of his Miranda rights

before asking questions likely to elicit incriminating responses.

     Defendant's motion to suppress will therefore be allowed

insofar as it relates to his statements made while seated in the

police cruiser at the roadside and while at the police barracks.

In all other respects, defendant's motion will be denied.

                                  ORDER

     In accordance with the foregoing, and as previously ruled,

in part,

     1)    defendant's motion to suppress the stop and search
           (Docket No. 84) is DENIED,

     2)    the government's motion to strike defendant's affidavit
            (Docket No. 110) is DENIED, and

     3)    defendant's motion to suppress his statements (Docket
           No. 85) is, with respect to those statements made while
           seated in the police cruiser and in the police
           barracks, ALLOWED, but in all other respects, DENIED.

So ordered.



                                  united States District Judge
Dated April/b '   2013




                                   -17­
